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 1   Brett L. Gibbs, Esq. (SBN 251000)
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 2   38 Miller Avenue, #263
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 3   415-325-5900
     blgibbs@wefightpiracy.com
 4
     Attorney for Plaintiff
 5
 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  NORTHERN DISTRICT OF CALIFORNIA
 8
 9                                           OAKLAND DIVISION

10
11
     HARD DRIVE PRODUCTIONS, INC,        )                  No.
12                                       )
                 Plaintiff,              )                  Judge:
13         v.                            )
                                         )
14   DOES 1-118                          )                  COMPLAINT
                                         )
15               Defendants.             )
                                         )                  DEMAND FOR JURY TRIAL
16   ___________________________________ )

17
18                                               COMPLAINT
19   NOW COMES Plaintiff Hard Drive Productions, Inc. by and through its undersigned counsel, and
20
     complains and alleges as follows:
21
                                         JURISDICTION AND VENUE
22
            1.      This action is reactionary. Plaintiff brings this civil action under the United States
23
24   Copyright Act and its related conspiracy claim to combat the Doe Defendants’ intentional

25   infringement of Plaintiff’s copyrighted creative works. The Doe Defendants, whose names Plaintiff

26   expects to ascertain during expedited discovery, illegally reproduced and distributed Plaintiff’s
27   copyrighted creative works over an Internet computer network peer-to-peer “sharing” network and,
28
     upon information and belief, continue to do so as of the filing of this suit.


                                                                                     Exhibit A
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 1          2.      Per N.D. Cal. Local Rule 3-5, this Court has federal subject matter jurisdiction over
 2   the copyright infringement claim under 17 U.S.C. §§ 101, et seq., (commonly referred to as “the
 3
     Copyright Act”), 28 U.S.C. § 1331 (granting federal courts federal question jurisdiction over civil
 4
     actions arising under the laws of the United States), and 28 U.S.C. § 1338(a) (granting federal courts
 5
     original jurisdiction over any Congressional acts relating to copyrights).             This Court has
 6
 7   supplemental jurisdiction over the civil conspiracy claim under 28 U.S.C. § 1367(a) because it is

 8   directly related to Plaintiff’s copyright infringement claim, which is within this Court’s original

 9   jurisdiction, such that the two claims form part of the same case and controversy under Article III of
10
     the United States Constitution.
11
            3.      This Court has personal jurisdiction over all of the parties because, upon credible
12
     information and belief gathered by Plaintiff, all the Doe Defendants either reside or committed
13
     copyright infringement in the State of California. Plaintiff used geolocation technology to trace the
14
15   IP addresses of each Doe Defendant to a point of origin within the State of California. This Court

16   also has personal jurisdiction over non-resident Defendants under the California long-arm statute,
17   California Code of Civil Procedure § 410.10, because they downloaded copyrighted content from, or
18
     uploaded it to, California residents, and thus committed copyright infringement in and through this
19
     State, and engaged in a civil conspiracy to commit copyright infringement with California residents.
20
     (See also Federal Rule of Civil Procedure (“FRCP”) 4(k)(1)(A)).
21
22          4.      Venue is properly founded in this judicial district pursuant to 28 U.S.C. §§ 1391(b)

23   and 1400(a) because, on information and belief, Doe Defendants reside in this District, may be found

24   in this District, and/or committed acts in this District giving rise to Plaintiff’s claims. Per N.D. Cal.
25   Local Rule 3-2(c), this intellectual property action is exempt from these requirements.
26
            5.      Joinder of Defendants is proper for just adjudication because all Defendants
27
     participated in a civil conspiracy to commit copyright infringement, which comprised of a series of
28                                                     2
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 1   transactions that ultimately ended in the Doe Defendants’ illicit distribution of Plaintiff’s unique
 2   copyrighted works (hereinafter “Work”) amongst one another. The series of transactions in this case
 3
     involved exchanging pieces of the Work’s file over the Internet amongst Doe Defendants with each
 4
     Doe Defendant sharing pieces of Plaintiff’s copyrighted file with each other (otherwise known as
 5
     “torrent swarming”) to obtain a complete copy of Plaintiff’s Work. The nature of the BitTorrent
 6
 7   distribution protocol necessitates a concerted action by many people in order to disseminate files,

 8   such as Plaintiff’s Work. Due to BitTorrent’s setup and this concerted action, it is impossible for

 9   individuals to the simply download files on BitTorrent without the active participation of others.
10
     Doe Defendants in this case, in order to download Plaintiff’s Work, intentionally engaged in this
11
     concerted action with other Doe Defendants and other yet unnamed individuals on BitTorrent by
12
     entering the torrent swarm. The Doe Defendants are properly joined even if they were not engaged
13
     in a contemporaneous swarm because they have contributed to the chain of data distribution due to
14
15   their prior involvement in like swarms. Doe Defendants also share the same questions of law with

16   respect to their copyright infringement, including, but not limited to:
17                  (A) Whether Plaintiff is the exclusive licensee of the copyrighted works at issue;
18
                    (B) Whether “copying” has occurred within the meaning of the Copyright Act;
19
                    (C) Whether entering a “torrent swarm” constitutes a willful act of infringement;
20
                    (D) Whether entering a “torrent swarm” constitutes a civil conspiracy; and
21
22                  (E) Whether, and to what extent, Plaintiff has been damaged by the Doe Defendants’

23                  conduct.

24   All of these questions should be answered as part of a single suit for all of the reasons outlined by
25   FRCP 19(a). Such joinder is mandated if “feasible.” Such joinder is entirely “feasible” in this case.
26
     //
27
     //
28                                                     3
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 1                                                  PARTIES
 2          6.      Plaintiff is an Arizona-based corporation that produces and distributes adult
 3
     entertainment content. Plaintiff operates a leading website, “Amateur Allure” within its niche and
 4
     has invested substantial capital in building its brand and producing content. Plaintiff is a small
 5
     business that depends on subscriber revenue to pay its employees and reinvest in producing new
 6
 7   content. Due to Plaintiff’s prominence, its content is a regular target of digital piracy and, upon

 8   information and belief, thousands of individuals chose to illegally download Plaintiff’s website

 9   updates instead of paying for the content or refraining from consuming it. All or substantially all of
10
     Plaintiff’s video library is accessible for illegal download on sites like BitTorrent.
11
            7.      The unique copyrighted work at issue in this case is an adult video entitled “Amateur
12
     Allure – Samantha Saint” (hereinafter “Work”). The Work is part of Plaintiff’s well-known website
13
     updates and has been uploaded to virtually every one of the major BitTorrent piracy websites.
14
15          8.      Doe Defendants’ actual names are unknown and unascertainable to Plaintiff. Instead,

16   Plaintiff knows each Doe Defendant only by an Internet Protocol address (hereinafter “IP address”),
17   which is a number assigned to devices, such as computers, connected to the Internet by an Internet
18
     Service Provider (hereinafter “ISP”). In the course of monitoring Internet-based infringement of its
19
     copyrighted content, Plaintiff’s agents observed unlawful reproduction and distribution occurring
20
     among IP addresses listed on Exhibit A, attached hereto, via the BitTorrent Internet protocol, an
21
22   Internet website allowing for “peer-to-peer” (hereinafter “P2P”) data exchanging. Plaintiff believes

23   that the Defendants’ identities will be revealed through expedited discovery, at which time Plaintiff

24   will seek leave of the Court to amend this Complaint to identify Defendants by name. Further,
25   Plaintiff believes that the information gathered in discovery will allow Plaintiff to identify additional
26
     Defendants not listed in the Exhibit A, as infringement monitoring is ongoing.
27
     //
28                                                      4
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 1                                                BACKGROUND
 2           9.         BitTorrent is a modern file sharing method (hereinafter “protocol”) used for
 3
     distributing data via the Internet.
 4
             10.        Traditional file transfer protocols involve a central server, which distributes data
 5
     directly to individual users. This method is prone to collapse when large numbers of users request
 6
 7   data from the central server, in which case the server can become overburdened and the rate of data

 8   transmission can slow considerably or cease altogether. In addition, the reliability of access to the

 9   data stored on a server is largely dependent on the server’s ability to continue functioning for
10
     prolonged periods of time under high resource demands.
11
             11.        In contrast, the BitTorrent protocol is a decentralized method of distributing data.
12
     Instead of relying on a central server to distribute data directly to individual users, the BitTorrent
13
     protocol allows individual users to distribute data among themselves by exchanging pieces of the file
14
15   with each other to eventually obtain a whole copy of the file. When using the BitTorrent protocol,

16   every user simultaneously receives information from and transfers information to one another.
17           12.        In BitTorrent vernacular, individual downloaders/distributors of a particular file are
18
     called peers. The group of peers involved in downloading/distributing a particular file is called a
19
     swarm. A server which stores a list of peers in a swarm is called a tracker. A computer program
20
     that implements the BitTorrent protocol is called a BitTorrent client. Each swarm is unique to a
21
22   particular file.

23           13.        The BitTorrent protocol operates as follows. First, a user locates a small “torrent”

24   file. This file contains information about the files to be shared and about the tracker, the computer
25   that coordinates the file distribution. Second, the user loads the torrent file into a BitTorrent client,
26
     which automatically attempts to connect to the tracker listed in the torrent file. Third, the tracker
27
     responds with a list of peers and the BitTorrent client connects to those peers to begin downloading
28                                                       5
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 1   data from and distributing data to the other peers in the swarm. When the download is complete, the
 2   BitTorrent client continues distributing data to other peers in the swarm until the user manually
 3
     disconnects from the swarm or the BitTorrent client otherwise does the same.
 4
            14.      The degree of anonymity provided by the BitTorrent protocol is extremely low.
 5
     Because the protocol is based on peers connecting to one another, a peer must broadcast identifying
 6
 7   information (i.e. an IP address) before it can receive data. Nevertheless, the actual names of peers in

 8   a swarm are unknown, as the users are allowed to download and distribute under the cover of their

 9   IP addresses.
10
            15.      The BitTorrent protocol is an extremely popular method for transferring data. The
11
     size of swarms for popular files can reach into the tens of thousands of unique peers. A swarm will
12
     commonly have peers from many, if not every, state in the United States and several countries
13
     around the world. And every peer in the swarm participates in distributing the file to dozens,
14
15   hundreds, or even thousands of other peers.

16          16.      The BitTorrent protocol is also an extremely popular method for unlawfully copying,
17   reproducing, and distributing files in violation of the copyright laws of the United States. A broad
18
     range of copyrighted albums, audiovisual files, photographs, software, and other forms of media are
19
     available for illegal reproduction and distribution via the BitTorrent protocol.
20
            17.      Efforts at combating BitTorrent-based copyright infringement have been stymied by
21
22   BitTorrent’s decentralized nature. Because there are no central servers to enjoin from unlawfully

23   distributing copyrighted content, there is no primary target on which to focus anti-piracy efforts.

24   Indeed, the same decentralization that makes the BitTorrent protocol an extremely robust and
25   efficient means of transferring enormous quantities of data also acts to insulate it from anti-piracy
26
     measures.
27
     //
28                                                     6
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 1                            ALLEGATIONS COMMON TO ALL COUNTS
 2          18.     At all times relevant hereto, Plaintiff has been the exclusive owner of the distribution
 3
     and reproduction rights of the Work at issue in this action.
 4
            19.     Plaintiff is the author of the Work.
 5
            20.     The Work is the subject of a copyright registration application and the application is
 6
 7   currently pending in the United States Copyright Office.

 8          21.     The Work is available only to subscriber’s of Plaintiff’s website, but, in this case, it

 9   was downloaded illicitly on digital piracy websites.
10
            22.     Plaintiff employs proprietary P2P network forensic software to perform exhaustive
11
     real time monitoring of BitTorrent-based swarms involved in distributing Plaintiff’s copyrighted
12
     creative works. This software is effective and accurate in capturing data about the activity of peers
13
     in a swarm and their infringing conduct.
14
15          23.     Doe Defendants, without Plaintiff’s authorization or license, intentionally

16   downloaded a torrent file particular to Plaintiff’s Work, purposefully loaded that torrent file into
17   their BitTorrent clients, entered a BitTorrent swarm particular to Plaintiff’s Work, and reproduced
18
     and distributed the Work to numerous third parties.
19
            24.     Plaintiff observed the Doe Defendants’ activities in the torrent swarm specific to the
20
     Work and created a log of IP addresses identifying each Defendant and the date and time of the Doe
21
22   Defendant’s activity, attached hereto as Exhibit A.

23                         COUNT I – COPYRIGHT INFRINGEMENT
24                              (U.S. Copyright Act – 17 U.S.C. §§ 101-1332)

25          25.     Plaintiff hereby incorporates by this reference each and every allegation contained in

26   the preceding paragraphs as though fully set forth herein.
27
28                                                     7
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 1          26.     Doe Defendants’ conduct infringes upon Plaintiff’s exclusive rights of reproduction
 2   and distribution that are protected under the Copyright Act.
 3
            27.     Each Doe Defendant knew, should have known, or had some constructive knowledge
 4
     that their acts constituted copyright infringement.
 5
            28.     Doe Defendants’ conduct was willful within the meaning of the Copyright Act:
 6
 7   intentional, and with indifference to the Plaintiff’s rights. Doe Defendants’ active participation on

 8   BitTorrent swarms relating to Plaintiff’s Work make this fact abundently clear.

 9          29.     Plaintiff has been damaged by Doe Defendants’ conduct including, but not limited to,
10
     economic and reputation losses. Plaintiff continues to be damaged by such conduct, and has no
11
     adequate remedy at law to compensate Plaintiff for all of the past, and possibly future, damages
12
     stemming from the Doe Defendants’ conduct.            In fact, further irreparable harm to Plaintiff’s
13
     copyrights and exclusive rights is imminent without Court intervention. Without restrictions, these
14
15   infringers will run rampant.

16          30.     Plaintiff hereby reserves the right, pursuant to 17 U.S.C. § 504(c), to elect to recover
17   statutory damages for each infringement, in lieu of seeking recovery of actual damages.
18
            31.     As Defendants’ infringement was intentional and willful, the Plaintiff is entitled to an
19
     award of statutory damages, exemplary damages, attorneys’ fees, and the costs of the suit.
20
                                    COUNT II – CIVIL CONSPIRACY
21
                                       (California Common Law Tort)
22
            32.     Plaintiff hereby incorporates by this reference each and every allegation contained in
23
24   the preceding paragraphs as though fully set forth herein.

25          33.     In using the P2P BitTorrent file distribution method, each Doe Defendant participated

26   in, aided in, attempted to aid in, or at least knew of the formation and operation of a common-plan
27
28                                                     8
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 1   conspiracy to unlawfully reproduce and distribute Plaintiff’s Work by exchanging pieces of the
 2   Work file in a torrent swarm on BitTorrent.
 3
             34.     Doe Defendants, in participating in said conspiratorial file exchanging network,
 4
     agreed to engage in a concerted tortious action with other (currently discovered and undiscovered)
 5
     Doe Defendants on the network to reproduce and distribute Plaintiff’s Work.
 6
 7           35.     Each of the Doe Defendants was an active participant in downloadeding a torrent file,

 8   opening it using a BitTorrent client, and then entering a torrent swarm comprised of other

 9   individuals improperly distributing and reproducing Plaintiff’s Work without Plaintiff’s permission,
10
     causing infringement damage to Plaintiff.
11
             36.     Participants in the torrent swarm, including Doe Defendants, have conspired to
12
     provide other individuals with pieces of Plantiff’s Work in exchange for receiving other pieces of the
13
     same Work, eventually obtaining a complete copy of the file.
14
15           37.     In furtherance of this civil conspiracy, Doe Defendants committed overt tortious and

16   unlawful acts by using BitTorrent software to download the Work from, and distribute it to, others,
17   and were willful participants in this joint activity.
18
             38.     Doe Defendants were fully aware of their participation in this conspiracy by taking
19
     part of these swarms on BitTorrent, and, in downloading Plaintiff’s Works, demonstrate their
20
     understanding of their role in this conspiracy.
21
22           39.     As a proximate result of this conspiracy, Plaintiff has been damaged as alleged above,

23   and seeks just compensation for Doe Defendants’ unjust acts.

24   //
25   //
26
     //
27
     //
28                                                       9
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 1                                      PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiff hereby respectfully prays this Court for Judgment and relief as follows:
 3           1)      That the Court enter a written judgment declaring that the Doe Defendants have
 4
     infringed Plaintiff’s rights in federally registered copyrights under 17 U.S.C. § 501, and that such
 5
     infringement was willful;
 6
             2)      That the Court enter a written judgment declaring that the Doe Defendants have
 7
 8   injured the business reputation and business of Plaintiff by Defendants’ acts and conduct set forth in

 9   this Complaint;

10           3)      That the Court issue injunctive relief against Doe Defendants, enjoinng and
11
     restrianing the Doe Defendants and all others in active concert with them from further violating
12
     Plaintiff’s copyrighted Works, and further issue an order impounding or requiring Doe Defendants to
13
     destroy all copies of those unlawfully copyrighted files in Doe Defendants’ possession, custody,
14
     and/or control pursuant to 17 U.S.C. §§ 503 & 509(a);
15
16           4)      That the Court enter a written judgment in favor of the Plaintiff against Defendants

17   for actual damages pursuant to 17 U.S.C. § 504(a) or statutory damages up to one-hundred and fifty-
18   thousand dollars ($150,000) pursuant to 17 U.S.C. § 504(b), at the election of Plaintiff, in an amount
19
     to be ascertained at trial;
20
             5)      As to Count II, that the Court order Doe Defendants jointly and severally liable to
21
     Plaintiff in the full amount of the Judgment on the basis of a common law claim for civil conspiracy
22
23   to commit copyright infringement; and for an award of compensatory damages based on the civil

24   conspiracy count in favor of the Plaintiff and against Defendants, jointly and severally, in an amount

25   to be determined at trial;
26
27
28                                                   10
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 1          6)      That the Court enter a written judgment in favor of Plaintiff against the Defendants
 2   awarding the Plaintiff reasonable attorneys’ fees, litigation expenses (including fees and costs of
 3
     expert witnesses), and other costs of this action pursuant to 17 U.S.C. § 505; and
 4
            7)      That the Court issue any such further relief as the Court deems approriate.
 5
 6
 7
 8
 9                                                        Respectfully Submitted,
10
                                                          Hard Drive Productions, Inc.
11
     DATED: March 30, 2011
12
                                                  By:     _____________________________
13
                                                          Brett L. Gibbs, Esq. (SBN 251000)
14                                                        Steele Hansmeier PLLC.
                                                          38 Miller Avenue, #263
15                                                        Mill Valley, CA 94941
                                                          blgibbs@wefightpiracy.com
16                                                        Attorney for Plaintiff
17
18
19                                    DEMAND FOR A JURY TRIAL
20          Plaintiff hereby demands a jury trial as provided by FRCP 38(a).
21
22
                                                  By:     ______________________________
23
                                                          Brett L. Gibbs, Esq. (SBN 251000)
24
                                                          Attorney for Plaintiff
25
26
27
28                                                   11
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IP Address        ISP                            Date/Time (UTC)           Torrent File
108.0.142.75      Verizon Online                  2011-03-15 09:07:55 AM   Samantha Saint
108.13.13.23      Verizon Online                  2011-03-29 05:37:53 AM   Samantha Saint
173.129.201.173   Sprint PCS                      2011-03-27 11:14:54 PM   Samantha Saint
173.153.175.93    Sprint PCS                      2011-03-27 06:09:05 PM   Samantha Saint
173.58.200.65     Verizon Online                  2011-03-22 04:25:17 AM   Samantha Saint
173.60.255.171    Verizon Online                  2011-03-22 04:31:05 PM   Samantha Saint
174.77.32.193     Cox Communications              2011-03-11 02:07:44 AM   Samantha Saint
24.130.90.66      Comcast Cable Communications    2011-03-21 04:18:56 PM   Samantha Saint
24.205.84.166     Charter Communications          2011-03-17 04:25:04 AM   Samantha Saint
24.23.37.2        Comcast Cable Communications    2011-03-11 05:40:52 AM   Samantha Saint
24.5.41.241       Comcast Cable Communications    2011-03-14 09:56:09 AM   Samantha Saint
24.6.181.238      Comcast Cable Communications    2011-03-10 06:45:12 AM   Samantha Saint
24.6.208.155      Comcast Cable Communications    2011-03-13 12:30:40 PM   Samantha Saint
24.6.228.38       Comcast Cable Communications    2011-03-09 10:48:28 PM   Samantha Saint
24.7.26.204       Comcast Cable Communications    2011-03-16 06:40:01 AM   Samantha Saint
64.113.121.138    Roseville Telephone Company     2011-03-22 10:23:15 PM   Samantha Saint
66.125.78.33      AT&T Internet Services          2011-03-15 06:54:51 PM   Samantha Saint
66.215.224.91     Charter Communications          2011-03-26 12:04:14 AM   Samantha Saint
66.27.192.220     Road Runner HoldCo              2011-03-19 08:15:47 AM   Samantha Saint
66.60.190.31      Roseville Telephone Company     2011-03-22 04:30:36 PM   Samantha Saint
66.75.201.187     Road Runner HoldCo              2011-03-10 03:51:09 PM   Samantha Saint
67.164.53.255     Comcast Cable Communications    2011-03-27 02:03:06 AM   Samantha Saint
67.164.83.227     Comcast Cable Communications    2011-03-16 01:52:01 AM   Samantha Saint
67.164.91.241     Comcast Cable Communications    2011-03-19 06:02:00 PM   Samantha Saint
67.166.140.133    Comcast Cable Communications    2011-03-21 08:15:03 PM   Samantha Saint
67.169.18.74      Comcast Cable Communications    2011-03-10 12:34:05 PM   Samantha Saint
67.169.73.68      Comcast Cable Communications    2011-03-09 11:37:00 PM   Samantha Saint
67.169.75.187     Comcast Cable Communications    2011-03-25 07:20:12 AM   Samantha Saint
67.180.61.219     Comcast Cable Communications    2011-03-27 09:13:01 AM   Samantha Saint
67.181.237.83     Comcast Cable Communications    2011-03-09 11:21:00 PM   Samantha Saint
67.182.63.103     Comcast Cable Communications    2011-03-29 12:11:14 AM   Samantha Saint
67.188.144.149    Comcast Cable Communications    2011-03-15 06:54:51 PM   Samantha Saint
67.49.102.73      Road Runner HoldCo              2011-03-26 04:17:58 AM   Samantha Saint
67.49.46.27       Road Runner HoldCo              2011-03-15 10:48:09 PM   Samantha Saint
67.49.48.194      Road Runner HoldCo              2011-03-12 10:39:48 AM   Samantha Saint
68.105.122.7      Cox Communications              2011-03-28 08:29:08 AM   Samantha Saint
68.123.47.98      AT&T Internet Services          2011-03-10 05:40:09 PM   Samantha Saint
68.26.217.109     Sprint PCS                      2011-03-26 03:08:23 AM   Samantha Saint
68.4.225.128      Cox Communications              2011-03-21 03:50:25 PM   Samantha Saint
68.5.19.71        Cox Communications              2011-03-11 10:42:32 AM   Samantha Saint
68.7.219.188      Cox Communications              2011-03-22 02:10:43 AM   Samantha Saint
69.111.191.175    AT&T Internet Services          2011-03-16 05:51:29 AM   Samantha Saint
69.181.104.163    Comcast Cable Communications    2011-03-24 01:59:44 PM   Samantha Saint
69.237.156.174    AT&T Internet Services          2011-03-28 01:22:26 AM   Samantha Saint
70.1.209.45       Sprint PCS                      2011-03-27 07:14:37 PM   Samantha Saint
71.105.178.77     Verizon Online                  2011-03-26 05:06:50 PM   Samantha Saint
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71.134.231.218   AT&T Internet Services         2011-03-17 12:50:28 AM   Samantha Saint
71.134.234.23    AT&T Internet Services         2011-03-10 05:57:14 AM   Samantha Saint
71.137.226.128   AT&T Internet Services         2011-03-19 04:18:32 PM   Samantha Saint
71.141.253.250   AT&T Internet Services         2011-03-10 12:02:23 PM   Samantha Saint
71.198.215.109   Comcast Cable Communications   2011-03-14 08:34:06 AM   Samantha Saint
71.84.92.32      Charter Communications         2011-03-10 05:57:14 AM   Samantha Saint
72.129.105.245   Road Runner HoldCo             2011-03-19 02:37:29 PM   Samantha Saint
72.130.105.58    Road Runner HoldCo             2011-03-27 06:25:15 AM   Samantha Saint
72.199.221.38    Cox Communications             2011-03-10 07:04:33 PM   Samantha Saint
72.199.55.58     Cox Communications             2011-03-13 08:25:56 PM   Samantha Saint
75.36.200.177    AT&T Internet Services         2011-03-25 05:00:08 AM   Samantha Saint
75.36.201.20     AT&T Internet Services         2011-03-27 06:37:15 AM   Samantha Saint
75.36.207.124    AT&T Internet Services         2011-03-13 06:48:25 PM   Samantha Saint
75.36.207.154    AT&T Internet Services         2011-03-17 04:25:04 AM   Samantha Saint
75.37.43.79      AT&T Internet Services         2011-03-27 11:23:44 PM   Samantha Saint
75.37.45.209     AT&T Internet Services         2011-03-17 07:51:56 PM   Samantha Saint
75.54.143.51     AT&T Internet Services         2011-03-17 08:55:14 AM   Samantha Saint
75.61.119.112    AT&T Internet Services         2011-03-26 04:34:38 AM   Samantha Saint
75.79.45.176     DSL Extreme                    2011-03-18 07:18:55 PM   Samantha Saint
75.82.217.116    Road Runner HoldCo             2011-03-15 09:49:41 PM   Samantha Saint
75.83.0.117      Road Runner HoldCo             2011-03-18 07:12:54 PM   Samantha Saint
75.83.27.98      Road Runner HoldCo             2011-03-21 07:40:31 PM   Samantha Saint
75.84.7.11       Road Runner HoldCo             2011-03-10 06:13:12 AM   Samantha Saint
75.85.88.156     Road Runner HoldCo             2011-03-24 09:22:55 PM   Samantha Saint
76.102.196.5     Comcast Cable Communications   2011-03-10 03:47:37 AM   Samantha Saint
76.103.198.221   Comcast Cable Communications   2011-03-25 01:50:54 PM   Samantha Saint
76.103.253.23    Comcast Cable Communications   2011-03-10 03:51:37 PM   Samantha Saint
76.114.25.23     Comcast Cable Communications   2011-03-17 02:49:01 AM   Samantha Saint
76.14.64.170     Wave Broadband                 2011-03-11 07:36:24 AM   Samantha Saint
76.170.141.144   Road Runner HoldCo             2011-03-22 03:01:14 AM   Samantha Saint
76.173.163.252   Road Runner HoldCo             2011-03-26 08:35:22 PM   Samantha Saint
76.175.151.52    Road Runner HoldCo             2011-03-10 01:02:33 AM   Samantha Saint
76.200.137.109   AT&T Internet Services         2011-03-16 08:32:34 AM   Samantha Saint
76.21.125.12     Comcast Cable Communications   2011-03-12 03:54:28 PM   Samantha Saint
76.216.20.148    AT&T Internet Services         2011-03-27 10:16:52 AM   Samantha Saint
76.230.233.151   AT&T Internet Services         2011-03-21 10:25:36 PM   Samantha Saint
76.240.174.47    AT&T Internet Services         2011-03-10 07:17:14 AM   Samantha Saint
76.79.183.108    Road Runner HoldCo             2011-03-29 07:38:56 AM   Samantha Saint
76.89.197.117    Road Runner HoldCo             2011-03-16 07:10:09 PM   Samantha Saint
76.91.49.155     Road Runner HoldCo             2011-03-11 07:03:23 AM   Samantha Saint
76.93.190.228    Road Runner HoldCo             2011-03-26 05:16:47 PM   Samantha Saint
98.112.60.227    Verizon Online                 2011-03-21 04:37:26 PM   Samantha Saint
98.145.49.162    Road Runner HoldCo             2011-03-23 08:32:44 PM   Samantha Saint
98.151.15.86     Road Runner HoldCo             2011-03-10 07:17:13 AM   Samantha Saint
98.151.162.62    Road Runner HoldCo             2011-03-23 08:28:12 PM   Samantha Saint
98.154.127.247   Road Runner HoldCo             2011-03-17 11:00:37 PM   Samantha Saint
98.154.29.207    Road Runner HoldCo             2011-03-09 04:35:13 PM   Samantha Saint
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              Case4:11-cv-01567-LB         42-2 Filed
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98.176.12.153    Cox Communications             2011-03-10 10:24:52 AM   Samantha Saint
98.210.115.162   Comcast Cable Communications   2011-03-10 07:17:13 AM   Samantha Saint
98.234.226.66    Comcast Cable Communications   2011-03-12 01:05:34 AM   Samantha Saint
98.248.12.162    Comcast Cable Communications   2011-03-14 06:58:05 AM   Samantha Saint
98.248.13.133    Comcast Cable Communications   2011-03-18 05:17:16 PM   Samantha Saint
98.248.26.0      Comcast Cable Communications   2011-03-10 12:09:31 AM   Samantha Saint
98.248.33.197    Comcast Cable Communications   2011-03-25 09:37:17 AM   Samantha Saint
98.248.90.217    Comcast Cable Communications   2011-03-21 06:07:45 PM   Samantha Saint
99.101.131.11    AT&T Internet Services         2011-03-10 02:24:06 AM   Samantha Saint
99.110.223.30    AT&T Internet Services         2011-03-17 12:45:58 AM   Samantha Saint
99.119.8.206     AT&T Internet Services         2011-03-12 07:23:38 PM   Samantha Saint
99.12.182.167    AT&T Internet Services         2011-03-11 02:00:36 PM   Samantha Saint
99.12.183.141    AT&T Internet Services         2011-03-12 07:22:21 PM   Samantha Saint
99.146.26.228    AT&T Internet Services         2011-03-15 11:50:29 AM   Samantha Saint
99.157.205.137   AT&T Internet Services         2011-03-09 10:32:28 PM   Samantha Saint
99.186.207.217   AT&T Internet Services         2011-03-12 10:21:48 AM   Samantha Saint
99.186.207.71    AT&T Internet Services         2011-03-26 04:18:42 AM   Samantha Saint
99.191.143.124   AT&T Internet Services         2011-03-22 03:36:37 PM   Samantha Saint
99.35.135.40     AT&T Internet Services         2011-03-23 10:18:19 PM   Samantha Saint
99.56.81.30      AT&T Internet Services         2011-03-12 01:42:54 PM   Samantha Saint
99.56.82.166     AT&T Internet Services         2011-03-15 02:34:08 AM   Samantha Saint
99.67.40.93      AT&T Internet Services         2011-03-12 03:06:57 PM   Samantha Saint
99.72.11.95      AT&T Internet Services         2011-03-14 06:27:22 PM   Samantha Saint
99.72.9.108      AT&T Internet Services         2011-03-10 04:55:39 PM   Samantha Saint
99.90.144.68     AT&T Internet Services         2011-03-24 03:47:55 AM   Samantha Saint
